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AO 91 (Rev. 11/11) Criminal Complaint (Rev. by USAO on 3/12/20)          ‫ ܆‬Original     ‫ ܆‬Duplicate Original


                                 UNITED STATES DISTRICT COURT
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                                                                                                     CLERK, U.S. DISTRICT COURT
                                                         for the

                                            Central District of California                                 07/01/2021

 United States of America                                                                         CENTRAL DISTRICT OF CALIFORNIA
                                                                                                            jbb
                                                                                                    BY: ___________________ DEPUTY

                 v.
                                                                    Case No.     5:21-mj-00461
 CARL BRADLEY JOHANSSON,
                                                                                                            Jul -2 2021
                 Defendant(s)
                                                                                                                  ib




                             CRIMINAL COMPLAINT BY TELEPHONE
                            OR OTHER RELIABLE ELECTRONIC MEANS

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the dates of April 24, 2020 through March 24, 2021, in the county of Riverside in the Central

District of California, and elsewhere, the defendant violated:

           Code Section                                            Offense Description

           18 U.S.C. §§ 1344(2), 2(b), 1349                        Bank Fraud, Causing An Act To Be
                                                                   Done, Conspiracy To Commit Bank
                                                                   Fraud

         This criminal complaint is based on these facts:

         Please see attached affidavit.

         _ Continued on the attached sheet.

                                                                                          /S/
                                                                                      Complainant’s signature

                                                                               Daniel DrHyer, Special Agent
                                                                                   Printed name and title
 Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.

 Date:                7/2/2021
                                                                                       Judge’s signature

 City and state: Los Angeles, California                          Hon. Alexander F. MacKinnon, U.S. Magistrate Judge
                                                                                   Printed name and title

AUSA: Matthew O’Brien, ext. 8644
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                             ATTACHMENT TO COMPLAINT
Offense Descriptions:
                                  [18 U.S.C. §§ 1344(2), 2(b)]
       On or about January 19, 2021, in Riverside County, within the Central District of
California, and elsewhere, defendant CARL BRADLEY JOHANSSON, also known as (“aka”)
“Brad Johansson,” aka “Brad Johnson,” aka “Carl Johnson,” “C. Brad Johanson,” aka “Jay
Johnson,” aka “Keith Golatta, ” aka “Keith Golwick” (“JOHANSSON”), acting with the intent to
defraud, knowingly executed and attempted to execute a scheme to defraud a federally-insured
financial institution, as to material matters, and to obtain moneys and funds owned by and in the
custody and control of the Bank by means of material false and fraudulent pretenses,
representations, and promises, and the concealment of material facts. To execute the fraudulent
scheme, defendant JOHANSSON submitted, and caused to be submitted, a Paycheck Protection
Program (“PPP”) loan forgiveness application for his company Western Distribution, LLC in the
amount of $436,390, which falsely claimed that Western Distribution, LLC employed certain
workers, and used its PPP loan to pay salaries for those certain workers, when those workers
were not in fact employed by Western Distribution, LLC and had not been paid by Western
Distribution, LLC using its PPP funds.
                                       [18 U.S.C. §1349]
       From on or about April 24, 2020 through March 24, 2021, in Riverside County, within
the Central District of California, and elsewhere, defendant JOHANSSON, together with others
known and unknown, conspired to commit bank fraud, in violation of Title 18, United States
Code, Section 1344. The objects of the conspiracy were carried out, and to be carried out, in
substance as follows:
        In April 2020, defendant JOHANSSON, and his co-conspirators, would cause Western
Distribution, LLC to apply for and obtain a PPP loan in the amount of $436,390, yet fail to
disclose on the PPP loan application that Western Distribution, LLC shared common
management (i.e., defendant JOHANSSON) with other businesses, and falsely claim on the PPP
loan application that Western Distribution, LLC would spend the loan proceeds in accordance
with the PPP rules. In September 2020, defendant JOHANSSON, and his co-conspirators,
would cause 21 individuals to be placed on Western Distribution, LLC’s payroll, even though
those 21 individuals did not work for Western Distribution, LLC and their salaries were being
paid by a separate company. Defendant JOHANSSON, and his co-conspirators, would cause
Western Distribution, LLC to submit a PPP loan forgiveness application in January 2021 that
falsely claimed that the 21 individuals worked for Western Distribution, LLC so that Western
Distribution, LLC could meet the PPP loan-forgiveness eligibility requirement that at least sixty
percent of a company’s PPP loan be spent on payroll. In March 2021, defendant JOHANSSON,
and his co-conspirators, would cause Western Distribution, LLC to apply for a second PPP loan
in the amount of $231,527, using the same fraudulent scheme whereby they represented – falsely
– the number of employees who worked for Western Distribution, LLC in order to obtain a
larger loan.
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                                AFFIDAVIT

     I, DANIEL DREYER, being duly sworn, declare and state as

follows:

                           I.    INTRODUCTION
     1.     I am a Special Agent (“SA”) with Internal Revenue

Service - Criminal Investigations (“IRS-CI”) in the Los

Angeles Field Office.      I have been a Special Agent since July

2017.     I am presently assigned to a group located in Santa

Ana, California.     I attended college at University of

California, Santa Barbara, where I obtained a bachelor’s

degree in Business Economics with Emphasis in Accounting in

2002.     After graduation, I worked in the field of public

accounting for approximately 12 years where I obtained the

job title of Senior Audit Manager.          In 2008, I became

licensed as a certified public accountant (“CPA”) in the

State of California and I have maintained the requirements

for this license since that date.         As an audit manager, I

oversaw complex audit engagements, including the analysis of

risks associated with financial fraud.          Additionally, I

focused on methods and types of financial fraud and what

measures can be used to detect and deter such activity.              I

attended training for approximately six months at the Federal

Law Enforcement Training Center in Glynco, Georgia, where I

graduated in February 2018.        During my training, I learned

investigative techniques used by the Internal Revenue Service

(“IRS”) to investigate the criminal violations found in

Titles 18, 26, and 31 of the United States Code that fall
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under IRS-CI’s investigative jurisdiction.           I have assisted

in the execution and planning of search warrants related to a

number of violations.      As a Special Agent, I have

investigated money laundering, tax fraud, and Bank Secrecy

Act violations.     As a result of my training and experience, I

am familiar with the methods used by criminals to commit

these types of offenses.

     2.    I make this affidavit in support of an application for

an arrest warrant for Carl Bradley Johansson (“JOHANSSON”) for

violations of 18 U.S.C. §§ 1344(2) and 2(b) (bank fraud and

causing an act to be done) and 18 U.S.C. § 1349 (conspiracy to

commit bank fraud).

     3.    The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from other agents and witnesses.          This

affidavit is intended to show merely that there is sufficient

probable cause for the requested warrant and does not purport to

set forth all of my knowledge of or investigation into this

matter.   Unless specifically indicated otherwise, all

conversations and statements described in this affidavit are

related in substance and in part only.

                   II.   SUMMARY OF PROBABLE CAUSE

     5.    In April 2018, a federal grand jury indicted

JOHANSSON, two of his employees, and two of his trucking

companies for conspiracy, welding without required

certifications, and false statements (C.D. Cal. Case No. 5:18-

CR-114-VAP) (the “Pending Criminal Case”).         A first superseding



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indictment, which added six counts against JOHANSSON for tax

evasion, was filed on or about November 14, 2018, and a second

superseding indictment was filed on or about November 20, 2019.

JOHANSSON and the other defendants pleaded not guilty to all

charges.   A trial is scheduled for September 14, 2021 before the

Honorable Virginia A. Phillips.

     6.    In the Pending Criminal Case, the government alleges,

inter alia, that JOHANSSON owned and controlled a series of

trucking companies yet kept his name off of his companies’ books
in order to (1) conceal his own involvement in the companies

from regulators investigating welding explosions at the

companies, and (2) avoid paying federal income taxes on his

considerable income from the companies.        (In 1999, JOHANSSON

pled guilty to a similar scheme resulting from a different

welder’s death; JOHANSSON was sentenced to 15 months in prison

(C.D. Cal. Case No. 98-CR-674-RAP).)

     7.    In March 2019, while on pre-trial release in the

Pending Criminal Case, JOHANSSON set up yet another trucking

company, Western Distribution, LLC, and registered it as an LLC

in Wyoming.   Western Distribution was based in Buena Park,

California (it is now based in Ontario, California), and focuses

on the transportation of jet fuel.       In September 2019, JOHANSSON

converted Western Distribution, LLC into Advanced Distribution,

Inc. and then converted Advanced Distribution, Inc. into Western

Distribution, Inc.    From that point forward, Western

Distribution, LLC no longer existed as a legal entity;

nonetheless, JOHANSSON continued operating the LLC as if nothing



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had changed.

     8.      In early 2020, when the COVID-19 pandemic hit the

United States, the federal government responded, as relevant

here, by setting up the Paycheck Protection Program (“PPP”),

whereby eligible businesses could apply to the Small Business

Administration (“SBA”) for low-interest (and potentially

forgivable) loans to obtain money that was to be used primarily

to pay their employees.     The first page of the PPP loan

application asked applicants, inter alia, if they or their
owners were currently under indictment, and if they shared

common management with any other businesses.

     9.      On or about April 24, 2020, under JOHANSSON’s

direction, Western Distribution, LLC applied to a federally

insured bank (the “Bank”) for a PPP loan in the amount of

$436,390, even though the LLC no longer existed.          JOHANSSON

listed his son, Co-conspirator #1, as the owner of Western

Distribution, LLC on the application, enabling him to answer the

“are your owners under indictment” question in the negative.

Despite the fact that JOHANSSON controlled and managed Western

Distribution, LLC at the same time that he controlled and

managed other companies -- including Wholesale Distribution,

Inc. (one of JOHANSSON’s co-defendants in the Pending Criminal

Case), and “Company A” -- the application claimed that Western

Distribution, LLC had no common management with any other

companies.    The application was approved, and Western

Distribution, LLC received a PPP loan in the amount of $436,390.

     10.     “Company A” is another trucking company controlled by



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JOHANNSON.    It is based in Gustine, California and focuses on

the transportation of agricultural materials.         On or about April

15, 2020, under JOHANSSON’s direction, Company A applied to

another federally insured bank for its own PPP loan in the

amount of $286,505.    JOHANSSON had his 85-year old mother listed

as Company A’s owner on Company A’s PPP application, enabling

him to again answer the “are your owners under indictment”

question in the negative.      Like Western Distribution, LLC’s

application, Company A’s application claimed that Company A had
no common management with any other businesses.         Company A’s

application was approved, and the company received a PPP loan in

the amount of $286,500.

     11.     Under JOHANSSON’s direction, Western Distribution, LLC

immediately spent its PPP funds in May and June 2020, in large

part on expenses unrelated to its payroll.         Rather than using

the funds to keep his employees at Western Distribution, LLC on

payroll, JOHANSSON laid off most of the company’s employees.

Later in 2020, when Western Distribution, LLC’s business picked

back up, JOHANSSON rehired many of the same employees.

     12.     In order to create the impression that Western

Distribution, LLC had spent more of its PPP loan on its payroll

than it really did, in September 2020 JOHANSSON moved 21 of

Company A’s employees onto Western Distribution, LLC’s payroll.

This substantially increased Western Distribution, LLC’s

purported payroll, and made it look like Western Distribution,

LLC was spending much more of its money on payroll than it

really was, just before its 24-week window for spending the PPP



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funds closed.    As a result of this ruse, Western Distribution,

LLC could claim -- falsely -- on its PPP loan forgiveness

application to the Bank in January 2021 that the company had met

the requisite threshold of spending at least sixty percent of

its PPP loan on payroll.     In fact, as JOHANNSON was aware,

Western Distribution, LLC had spent much of the PPP loan on

other expenses in May and June 2020 and effectively laid off

most of its employees.     As JOHANSSON was also aware, none of

Company A’s employees ever actually worked for Western
Distribution, LLC in 2020; JOHANSSON had transferred them onto

Western Distribution, LLC’s payroll solely as part of a shell

game to conceal his scheme from the Bank and federal regulators.

     13.   In March 2021, JOHANSSON caused Western Distribution,

LLC to repeat the same fraudulent representations concerning its

employee lists and payroll numbers when the company submitted a

second PPP loan application, for $231,527, to the Bank.

                 III. THE PAYCHECK PROTECTION PROGRAM
     14.   The CARES Act is a federal law enacted in around March
2020 and was designed to provide emergency financial assistance

to the millions of Americans who were suffering the economic

effects caused by the COVID-19 pandemic.        One source of relief

provided by the CARES Act was the authorization of up to $349

billion in forgivable loans to small businesses for job

retention and certain other expenses, through a program referred

to as the PPP.    In approximately April 2020, Congress authorized

over $300 billion in additional PPP funding.

     15.   In order to obtain a PPP loan, a qualifying business



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must submit a PPP loan application, which is signed by an

authorized representative of the business.        The PPP loan

application requires the business (through its authorized

representative) to acknowledge the program rules and make

certain affirmative certifications in order to be eligible to

obtain the PPP loan.     One such certification requires the

applicant (through its authorized representative) to affirm that

“[t]he [PPP loan] funds will be used to retain workers and

maintain payroll or make mortgage payments, lease payments, and
utility payments; I understand that if the funds are used for

unauthorized purposes, the federal government may pursue

criminal fraud charges.”     In the PPP loan application, the small

business (through its authorized representative) must state,

among other things, its: (a) average monthly payroll expenses;

and (b) number of employees.      These figures are used to

calculate the amount of money the small business is eligible to

receive under the PPP.     In addition, businesses applying for a

PPP loan must provide documentation showing their payroll

expenses.   These figures are used to calculate the amount of

money the small business is eligible to receive under the PPP.

In addition, businesses applying for a PPP loan must provide

documentation showing their payroll expenses.

     16.    PPP loan proceeds must be used by the business on

certain permissible expenses -- payroll costs, interest on

mortgages, rent, and utilities.       The PPP allows the interest and

principal on the PPP loan to be entirely forgiven if the

business spends the loan proceeds on these expense items within



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a designated period of time (usually 24 weeks after receiving

the proceeds) and uses at least sixty percent of the PPP loan

proceeds on payroll expenses.

     17.   The PPP loan application includes eligibility

questions pertaining to current and past criminal histories of

any and all individuals owning twenty percent or more of the

applicant company.      These questions are further certified by the

signer with the understanding that any material false statements

are punishable under specified laws and subject to both fines
and imprisonment.    The application states that any recent felony

conviction or current indictment of an owner of twenty percent

or more of an applicant makes the applicant ineligible for PPP

funding.

                  IV.    STATEMENT OF PROBABLE CAUSE
     Based upon my review of investigative reports and notes,

bank records, witness statements, my discussions with other law

enforcement officers working on this investigation, and other

evidence, I learned the following:

     A.    JOHANSSON’s History of Concealing His Involvement in
           His Trucking Companies

           1.   National Distribution Services, Inc.

     23.   On or about September 27, 1993, L.Q., a welder at

Atlas Carrier, Inc. (“Atlas”), located in Montebello,

California, was killed while working inside a cargo tanker when

his welding torch ignited fumes.        Atlas, a hazardous-materials

transportation company, was not registered with the United

States Department of Transportation (“DOT”) to perform the




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repair of cargo tanks and did not have the “R” Stamp

certification required to carry out such welding.          JOHANSSON was

the president and owner of Atlas, which did business under

several names including Ash Transportation, Inc., Petroleum

Delivery Services, and Ash Incorporated.
     24.   As result of the investigation into L.Q.’s death, in

around June 1998 JOHANSSON and an Atlas manager were indicted by

a federal grand jury on five counts, specifically, one count of

violating 18 U.S.C. § 371 and four counts of violating 49 U.S.C.

§ 5124 (welding without an “R” stamp).        See United States v.

Carl Bradley Johansson, Case No. 98-CR-674-RAP (C.D. Cal.).

JOHANSSON pled guilty and was sentenced in 2000 to a term of 15

months’ imprisonment followed by two years of supervised

release.   Upon his release from prison, JOHANSSON returned to

managing his trucking companies.

     25.   In 2007, the federal government sued JOHANSSON for

employment taxes owed by his former company, Atlas Bulk, Inc.

(C.D. Cal. Case No. 07-CV-659-AHS).       The district court entered
judgment against JOHANSSON in 2008 for $923,440.          After the

judgment was entered, JOHANSSON filed no personal tax returns

(and paid no personal income taxes) until after he was indicted

again in 2018, despite earning over a million dollars in

unreported income from his trucking companies during that period

and despite enjoying a lifestyle that included, for example,

living in a 16,000-square-foot mansion in Corona for which he

paid approximately $16,000 each month in rent from 2012 to 2018.

     26.   By no later 2012, JOHANSSON had taken control of



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National Distribution Services, Inc. (“National”), a hazardous-

materials transportation company based in Corona.          Bank records

and employee interviews confirm that JOHANSSON controlled all

aspects of National’s business, from operations to banking.           Yet

as a result of the tax case and increasing regulatory scrutiny

regarding his trucking companies’ safety, JOHANSSON went to

great lengths to conceal his involvement in National.          For

example, when JOHANSSON took control of National, he listed his

former prison mate, W.S., as the President, Secretary,
Treasurer, and Director of National on many corporate filings.

JOHANSSON even created a fictional persona, “Keith Golatta,” to

use as an alias on corporate filings.        On telephone

conversations with National’s customers and in other instances,

JOHANSSON sometimes said that he was “Keith Golatta,” even

though no such person existed.
     27.   After JOHANSSON failed to satisfy the tax judgment, in

2012 the IRS filed a tax lien against CBSA, a family partnership

controlled by JOHANSSON’s wife, which owned the industrial
property in Corona where National was based.         The IRS alleged

that CBSA was JOHANSSON’s nominee.

     28.   On or about September 25, 2012, D.L.V., one of

JOHANSSON’s welders at National, was almost killed in an

explosion during a welding repair on one of National’s tankers.

     29.   On or about May 6, 2014, S.E., JOHANSSON’s other

welder at National, was killed by an explosion when his welding

torch ignited fumes inside one of National’s tankers.          As with

the fatal 1993 explosion at Atlas and the 2012 explosion at



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National, the welding was taking place at JOHANSSON’s company

even though the company lacked the federally required “R” Stamp

to conduct such welding.     D.L.V., the same welder who narrowly

survived the 2012 explosion, was seriously injured during the

explosion on or about May 6, 2014.
     30.    An investigation into the deadly explosion on May 6,

2014 ensued.     During the investigation, JOHANSSON continued to

conceal his ownership and control of National.         For example, on

or about May 6, 2014, JOHANSSON told investigators that he was a

customer service representative at National.         JOHANSSON also

claimed that he was merely a “temp” and “paper pusher” at

National.   To cover his tracks, in the weeks after the explosion

in May 2014, JOHANSSON arranged for National to hire a staffing

company to hire JOHANSSON as a temp at National, even though

JOHANSSON owned and controlled National.

            2.    Wholesale Distribution, Inc.

     31.    As a result of the deadly explosion in May 2014,

federal regulators imposed strict restrictions on the operations
at National.     To evade those restrictions, JOHANSSON shut down

National and started a nearly identical company, Wholesale

Distribution Services, Inc. dba Quality Services (“Wholesale”),

in late 2014 and early 2015.      Wholesale operated out of the same

warehouse as National, operated the same trucks, and had most of

the same drivers and office staff as National.         As he had done

at National, JOHANSSON listed a “straw man” -- J.C., who sold

tires to JOHANSSON -- as Wholesale’s President and Owner on

corporate records, even though J.C. had almost no involvement in



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Wholesale.    J.C. has confirmed that he was unaware that

JOHANSSON used his name and signature on Wholesale’s corporate

filings for years.
     32.     Bank records and employee interviews confirm that,

from 2015 to the present, JOHANSSON has controlled every aspect

of Wholesale, from operations to finances to criminal defense

issues.    Every employee of Wholesale ultimately answers to

JOHANSSON.    It was not until JOHANSSON and Wholesale were

indicted in the Pending Criminal Case in 2018 that JOHANSSON

finally began publicly admitting the scope of his involvement in

Wholesale.    In the Pending Criminal Case, JOHANSSON repeatedly

has described himself as the corporate representative of

Wholesale.

             3.   “Company A”

     33.     As noted above, Company A is a trucking company based

in Gustine, California that hauls agricultural products.           During

the investigation into, and civil litigation regarding, the

death of JOHANSSON’s welder on or about May 6, 2014, JOHANSSON

consistently downplayed his role at Company A.         For example,

JOHANSSON acknowledged that he had been a member of Company A’s

Board of Directors, but claimed that he was only a consultant

and that he had no knowledge as to who owned Company A.           Based

on my training and experience and my knowledge of the facts of

this case, I believe that JOHANSSON was deliberately minimizing

his role at, and command of, Company A.        For example, as a

result of my investigation, I am aware of the following

information:



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           a.   Even though JOHANSSON has claimed, under oath,

that he does not know who owns Company A, JOHANSSON’s own

company, Systems Logistics, Inc. dba Tech Logistics (“Tech

Logistics”), bought Company A in around 2003.         While JOHANSSON

also has tried to distance himself from Tech Logistics, he

himself signed the Stock Purchase Agreement in which Tech

Logistics bought Company A in 2003, in his capacity as Tech

Logistics’ Managing Director.      (JOHANSSON’s wife signed the same

agreement as the buyer’s President.)       Likewise, a document
obtained from the California Secretary of State, entitled

“Statement of Information” and dated October 14, 2003, shows

that JOHANSSON signed the document and described himself as the

Managing Director of Tech Logistics.       JOHANSSON’s personal

attorney in Newport Beach was listed on the same document as

Tech Logistics’ registered agent for service of process.

           b.   Even though JOHANSSON has claimed, under oath,

that he had a very limited role at Company A, documents obtained

from the California Secretary of State show that:          (1) on or

about July 19, 2015, JOHANSSON -- using the alias “Brad Johnson”

-- filed an Amended Articles of Incorporation for Company A, in

which he stated under oath that he was the President and

Secretary of Company A and in which he slightly modified the

company’s name; and (2) on or about September 21, 2015,

JOHANSSON, again using the alias “Brad Johnson,” filed an

Amended Articles of Incorporation, in which he stated that he

was the President and Secretary of the newly named company and

in which he changed the name of the company back to Company A’s



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original name.

           c.    A similar document, dated on or about October 27,

2010, lists “Keith Golwick” as Tech Logistics’ Director.           Based

on my investigation in this case, I believe that “Keith Golwick”

may be another of JOHANSSON’s aliases.         As set forth above, it

is well established that JOHANSSON frequently used the alias

“Keith Golatta” to conceal his involvement in National.           (I have

checked law enforcement databases for individuals named “Keith

Golatta” and “Keith Golwick” and found no individuals with those
names during the relevant time periods.)

           d.    Documents obtained from another bank (“Bank B”)

confirm JOHANSSON’s longstanding financial control of Company A.

For example, a document entitled “Accounts Receivable Financing

and Security Agreement,” between Bank B and Company A and dated

or about July 5, 2006, listed JOHANSSON as the CEO of Company A

and JOHANSSON’s wife as the Director of Company A.          A related

document from Bank B, entitled “Lockbox Service” and dated on or

about March 4, 2015, was signed by JOHANSSON, who described

himself as Company A’s Director.         According to “Company A’s

Manager” (who has been the onsite manager for Company A’s truck

yards in Turlock and Gustine for the last two decades), the
financing of Company A’s receivables allowed for money to be

borrowed by Company A against future payments from customers.

In an interview, Company A’s Manager said that the first draw of

the loan -- which amounted to several hundred thousand dollars

-- was transferred to JOHANSSON and not used by Company A.

           e.    Company A’s Manager said in prior sworn testimony



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that, ever since Tech Logistics acquired Company A in 2003,

JOHANSSON has controlled Company A’s Manager’s employment at

Company A, acquired trucks for Company A, and handled all of

Company A’s insurance policies for its trucks.         Company A’s

Manager repeated these statements in an interview in June 2021,

adding that JOHANSSON’s wife assisted on insurance issues.

           f.   JOHANSSON commonly obtained insurance policies

that covered National’s (and Wholesale’s) trucks as well as

Company A’s trucks.    Several such documents listed, for example,
the insured as “National Distribution Services, Inc. DBA

[Company A].”

     B.    JOHANSSON’s Formation of Western Distribution, LLC in
           Early 2019

     34.   According to documents filed with the Wyoming

Secretary of State and emails between JOHANSSON and Wyoming

Corporate Services, Inc. (which appears to be a dba of Capital

Administrations, LLC, the “Registered Agent” for Western

Distribution, LLC in Wyoming), JOHANSSON caused Western

Distribution, LLC to be registered as an LLC in Wyoming on or

about March 6, 2019.     To my knowledge, this marked the formation

of Western Distribution, LLC as a legal entity. 1        JOHANSSON was

billed approximately $1,120 by the Registered Agent to set up

the LLC.


     1 A document entitled “Operating Agreement Member Managed,”
allegedly dated February 25, 2019, purports to show the
formation date of Western Distribution, LLC as on or about
February 25, 2019. The date on that document does not appear to
be credible given that the same document states that the
company’s Articles of Organization were filed with the Wyoming
Secretary of State on or about March 6, 2019.


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     35.   Emails between JOHANSSON and the Registered Agent

confirm JOHANSSON’s role in the creation of Western

Distribution, LLC.    For example, JOHANSSON used his own name,

email address, and phone number when communicating with the

Registered Agent.

     36.   An IRS Form SS-4, dated on or about March 14, 2019,

establishing the Employer Identification Number for Western

Distribution, LLC, was sent to JOHANSSON as a member of the LLC.

     37.   According to a document entitled “Application to

Register a Foreign Limited Liability Company LLC” from the

California Secretary of State’s website, Western Distribution,

LLC was registered as a Wyoming LLC in the State of California

on or about April 22, 2019.

     38.   On or about April 25, 2019, JOHANSSON submitted a Form

MCSA-1 to register Western Distribution, LLC with the Federal

Motor Carrier Safety Administration (“FMCSA”).         The Form MCSA-1

is an application that businesses use in order to register with

FMCSA.   In response to a question asking the applicant to list

the names of its officers, JOHANSSON listed himself.

     39.   The MCSA-1 Form asked, “Do you currently have, or have

you had within the last 3 years of the date of filing this

application, relationships involving common stock, common

ownership, common management, common control or familial

relationships with any FMCSA-regulated entities?”          Even though

JOHANSSON was the sole officer of Wholesale and Wholesale was a

FMCSA-regulated entity (because, for example, it transported jet

fuel in interstate commerce), JOHANNSON checked “No.”          In the



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“APPLICANT’S OATH” field, JOHANSSON’s name was printed and

digitally signed.       JOHANSSON expressly verified that “all

information supplied on this form or relating to this

application is true and correct.” 2
       C.      JOHANSSON’s Fraudulent Use of Advanced Fuel Delivery’s
               Name and DOT Registration Number

       40.     Advanced Fuel Delivery, LLC (“Advanced”) was a

trucking company based in Riverside.       According to an interview

of “Advanced’s Managing Partner” in June 2021, Advanced was

planning to shut down its operations in 2019.         In 2019,

JOHANSSON offered the owners of Advanced approximately $25,000

to purchase the company’s name and licenses.         The owners

rejected JOHANSSON’s offer for being too low.

       41.     Thereafter, JOHANSSON appears to have started using

Advanced’s name and DOT registration number (3049566) as his

own.       In interviews in June 2021, Advanced’s Managing Partner

said that (1) he had no knowledge that JOHANSSON was using

Advanced’s name and DOT registration number, and (2) there was

no reason for Advanced to apply for insurance policies in 2019

because the company was winding down.        Even though JOHANSSON had

no ownership rights in Advanced, he applied for and obtained

insurance for his companies using Advanced’s name and DOT

registration number in 2019 and 2020.        Documents obtained from

the insurer show, for example:

               a.   A Commercial Insurance Application, dated on or


       On or about December 9, 2020, shortly after JOHANSSON
       2
learned of this investigation, Western Distribution, LLC
submitted another Form MCSA-1 in which it admitted that it did
share common management with Wholesale.


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about June 18, 2019, listed Advanced as the applicant and

included a “dba Advanced Distribution” as well as “Western

Distribution” as another “Named Insured.”        The contact name for

the applicant is “Jay Johnson,” who listed his email address as

JOHANSSON’s email address at Western Distribution, LLC and his

phone number as the phone number that JOHANSSON commonly listed

for Western Distribution, LLC (XXX-XXX-6840). 3        In response to

the question of whether the applicant has been indicted for any

crime of fraud, “Jay Johnson” responded, “N.”

           b.   An insurance document entitled “Risk Engineering

Field Evaluation,” dated on or about August 24, 2020, also

listed the contact for Advanced as a “Jay Johnson,” who again

used JOHANSSON’s email account at Western Distribution, LLC as

well as the same phone number associated with JOHANSSON.           The

Evaluation reports listed Advanced’s DOT number (3049566) and

observed that “Jay runs the business day to day” and has “[b]een

in the petroleum distribution business for 25 years.”

           c.   A follow-up insurance policy, dated on or about

November 19, 2020, listed the insured as “Advanced Distribution,

Inc. dba Western Distribution.”

           d.   “Jay Johnson,” again using JOHANSSON’s email

     3 This phone number appears to have been used previously by
J.S., one of JOHANSSON’s shop employees at Wholesale
Distribution, Inc. When J.S. left Wholesale, JOHANSSON appears
to have begun using the number himself. For example, phone
records for the same number (XXX-XXX-6840) show that between
approximately February 2019 and August 2020, the user of this
phone number called a phone number associated with JOHANSSON’s
wife approximately 3,590 times. Likewise, in an email dated on
or about May 13, 2021, Western Distribution, LLC’s dispatcher
wrote to a client that the company’s “Admin Manager” was “Brad”
and listed the same -6840 number as “Brad’s” number.


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address at Western Distribution, LLC and listing the -6840 phone

number as his cell phone, emailed the insurer repeatedly about

the policy, purportedly on behalf of Advanced.         In one such

email, dated on or about September 24, 2020, “Jay Johnson” asked

the insurer for a discounted premium based on Advanced’s “almost

3 years claims free,” apparently alluding to the safety record

of a company unrelated to the trucking companies that JOHANSSON

actually owned. 4
     42.   Based on my training and experience, my knowledge of

this investigation, and my discussions with colleagues at the

DOT, I believe that “Jay Johnson” is yet another of JOHANSSON’s

aliases and that JOHANSSON was applying for insurance -- using

an alias and a different trucking company’s name and DOT number

-- to “piggy back” off of Advanced’s prior safety ratings while

concealing his own involvement in the scheme, which very likely

amounts to insurance fraud.

     D.    JOHANSSON’s Decision to Make Western Distribution, LLC
           a Defunct Entity as of September 2019

     43.   On or about July 23, 2019, JOHANSSON sent an email
entitled “Western Distribution LLC” to the Registered Agent in

Wyoming.   In the email, JOHANSSON asked, “1.        Can Western

Distribution LLC be changed to a Corporation?         2.   Is the name:

Advanced Distribution, Inc. available?”        (Emphases in original.)

The Registered Agent replied to JOHANSSON in the affirmative.


     4 The “Risk Engineering Field Evaluation” discussed above
states that “Jay Johnson” told the insurer that the company
hauled “no aviation fuels,” even though, according to Co-
conspirator #2, Western Distribution, LLC’s primary business was
hauling jet fuel.


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     44.   According to a corporate resolution for Advanced

Distribution, Inc. dated or about September 10, 2019 and filed

with the Wyoming Secretary of State, “the Director, Carl

Johansson, shall have full power and authority to act on behalf

of Advanced Distribution, Inc.”

     45.   According to documents filed with the Wyoming

Secretary of State and emails between JOHANSSON and the

Registered Agent, on or about September 12, 2019, JOHANSSON

caused Western Distribution, LLC to be converted into Advanced

Distribution, Inc., a Wyoming corporation.

     46.   According to documents obtained from the Registered

Agent, JOHANSSON requested, and was billed approximately $495,

for the conversion from the LLC to the corporation and the name

change from Western Distribution to Advanced Distribution.

     47.   According to a document entitled “Certificate of

Conversion” from the Wyoming Secretary of State, “Western

Distribution LLC, a Wyoming Limited Liability Company[,]

Converted to Western Distribution, Inc., a Wyoming For Profit

Corporation, On September 12, 2019.”

     48.   According to documents filed with the Wyoming

Secretary of State and emails between JOHANSSON and the

Registered Agent, on or about September 16, 2019, JOHANSSON

caused Advanced Distribution, Inc. to change its name to Western

Distribution, Inc.

     49.   On or about September 17, 2019, the Registered Agent

emailed confirmation of the name change to JOHANSSON, and wrote,

in an email entitled “Western Distribution, Inc.,” “Hello Brad,



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Please see attached Name Change for your company Western

Distribution, Inc.”    Attached to the email was a “Certificate of

Name Change” from the Wyoming Secretary of State, dated on or

about September 16, 2019, that stated, in relevant part:

“Current Name: Western Distribution, Inc.        Old Name: Advanced

Distribution, Inc.”
     50.   Based on the foregoing documents, to my knowledge,

after on or about September 12, 2019, Western Distribution, LLC

no longer existed as a legal entity.       Instead, that entity had

been converted, first, to Advanced Distribution, Inc., and then,

a few days later, to Western Distribution, Inc., all at the

direction of JOHANSSON. 5

     51.   Based on my training and experience, and my knowledge

of this investigation, it is highly unusual for someone to

convert their LLC into a corporation and change its name twice

in one week.   It is even more unusual for someone to then

disregard the newly formed corporation and continue operating

the business as a defunct LLC.      I am not aware of any legitimate

purpose for such a scheme; to the contrary, while this

investigation is ongoing, I believe that JOHANSSON’s changes to

the names and legal formulations of Advanced and Western

Distribution were likely motivated by the insurance fraud scheme


     5 On or about June 10, 2021, Western Distribution, LLC filed
its biennial update with the California Secretary of State, in
which the company claimed that it remained an active LLC in
Wyoming. That was false, as the only active entity in Wyoming
is the corporation that JOHANSSON caused to be established in
September 2019. Nothing in the LLC’s filings in Wyoming or
California suggests that the LLC has been reconstituted
elsewhere.


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described above.    I also am not aware of any legitimate reason

why (as detailed below) JOHANSSON would apply for the PPP loan

in the name of the defunct LLC rather than in the name of the

new corporation.    JOHANSSON’s personal involvement in the highly

unusual conversion of the LLC to a corporation in September

2019, as well as the PPP application in April 2020, causes me to

conclude that it is extremely unlikely that he continued

operating the defunct LLC by accident.

     E.    JOHANSSON’s Control of Western Distribution, LLC
     52.   Based on an interview of Co-conspirator #2 in April

2021 as well as previous interviews of Co-conspirator #2, I

learned the following:

           a.   Co-conspirator #2 has worked for JOHANSSON for

nearly three decades, including at National, Wholesale, and

Western Distribution, LLC.      At each company, her main

responsibility has been handling the administrative side of

JOHANSSON’s business.

           b.   JOHANSSON was (and is) the Managing Director of

Western Distribution, LLC.      Western Distribution, LLC had many

of the same management and employees as did Wholesale, which

JOHANSSON also controlled and managed.        JOHANSSON set up Western

Distribution, LLC because he anticipated being sent to prison in

the Pending Criminal Case, and he envisioned his son, Co-

conspirator #1, running the new company while he was in prison.

           c.   JOHANSSON had the power to, and did, write checks

for Western Distribution, LLC.      He determined his own pay and

determined the amount of Co-conspirator #1’s pay.



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           d.   Although JOHANSSON often listed his son, Co-

conspirator #1, as the owner of Western Distribution, LLC, Co-

conspirator #1 had almost no management role at the company.
     53.   Based on my review of bank records relating to Western

Distribution, LLC, I learned that JOHANSSON was the sole

signatory on each of the company’s bank accounts.

     54.   Based on credit reports, academic records, and my own

research, I know that for most of the time that Co-conspirator

#1 has been the alleged owner of Western Distribution, LLC, he

has held a day job as an entry-level financial analyst at an

investment firm in Long Beach.      Co-conspirator #1 graduated from

college in around 2019, lives with his parents, and, aside from

his alleged ownership of Western Distribution, LLC, has no known

experience in the trucking industry.       I am aware of no evidence

that Co-conspirator #1 had any role in Western Distribution,

LLC’s PPP loan application in April 2020 (detailed below), other

than purportedly reviewing and signing certain documents. 6

     F.    Western Distribution, LLC’s First PPP Loan Application
           in April 2020
     55.   In order to apply for the PPP loan, JOHANSSON opened a

new bank account at a federally insured bank (the “Bank”) in

Modesto, California.     To do so, JOHANSSON caused Western

Distribution, LLC to submit a number of documents to the Bank in

around April 2020, including a Beneficial Ownership

Certification Form, dated on or about April 22, 2020, the


     6 As discussed below, Co-conspirator #1 played a larger role
in Western Distribution, LLC’s loan forgiveness application and
second PPP loan application in 2021.


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express purpose of which was “[t]o help the government fight

financial crime” because “Legal Entities can be abused to

disguise involvement in . . . tax evasion, corruption, fraud,

and other financial crimes.”      The form asked for the name “of

one individual with significant responsibility for managing the

Legal Entity,” i.e., Western Distribution, LLC.         The response

listed Co-conspirator #1 and claimed that he was the CEO of

Western Distribution, LLC.
     56.    According to Co-conspirator #2 (JOHANSSON’s office

administrator), JOHANSSON instructed her to fill out the PPP

loan application, and she emailed it to JOHANSSON for his

approval.

     57.    Western Distribution, LLC’s PPP loan application,

dated on or about April 24, 2020 and submitted to the Bank,

included the following:

            a.   Western Distribution, LLC checked the box for

being an LLC, not one of the boxes for corporations.

            b.   Western Distribution, LLC listed its average

monthly payroll as $174,556, for 31 employees.

            c.   Western Distribution, LLC requested a PPP loan in

the amount of $436,390 (i.e., approximately 2.5 times its

average monthly payroll).

            d.   Co-conspirator #1 was listed as the owner of 100%

of Western Distribution, LLC.      The social security number listed

was the one associated with Co-conspirator #1.

            e.   Question #3 of the loan application stated: “Is

the Applicant or any owner of the Applicant an owner of any



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other business, or have common management with, any other

business?     If yes, list all such businesses and describe the

relationship on a separate sheet identified as addendum A.”           The

response was marked as “No,” and no addendum A was included.

              f.   Question #5 of the loan application stated: “Is

the applicant or any individual owning 20% or more of the equity

of the Applicant subject to an indictment, criminal information,

arraignment, or other means by which formal criminal charges are

brought in any jurisdiction ...?”        The response was marked as
“No” and the initials “CJ” were handwritten next to the

response. 7
              g.   The loan application contained a number of

certifications regarding the applicant’s compliance with PPP

regulations, including, for example, “The funds will be used to

retain workers and maintain payroll or make mortgage interest

payments, lease payments, and utility payments, as specified

under the Paycheck Protection Rule; I understand that if the

funds are knowingly used for unauthorized purposes, the federal

government may hold me legally liable, such as for charges for

fraud.”    The initials “CJ” were handwritten next to this

statement.

              h.   Under all of the certifications, the form was

signed in Co-conspirator #1’s name as the “Member (owner)” and

dated on or about April 24, 2020.

     58.      In order to support the value of payroll expenses


     7   JOHANSSON and Co-conspirator #1 both have the initials
“C.J.”


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associated with the PPP loan, Western Distribution, LLC provided

the Bank with two documents from Paychex (a payroll services

company), both entitled “Payroll Report” and covering the first

quarter of 2020, showing the payroll expenses of Western

Distribution, LLC.    The Quarterly Reports showed the following:

           a.   Western Distribution, LLC had two accounts at

Paychex:   (1) an account ending in -6410, covering approximately

24 employees (who appear to be Western Distribution, LLC’s truck

drivers); and (2) an account ending in -6403, covering
approximately 16 employees (who appear to be Western

Distribution, LLC’s administrative staff and shop employees).

           b.   JOHANSSON was an employee who was being paid

wages.

           c.   Co-conspirator #1 was not listed anywhere.
     59.   A Paychex document entitled “Paycheck Protection

Program Data,” dated on or about April 5, 2020 and also

submitted to the Bank, combined the data from the Payroll

Reports and showed Western Distribution, LLC’s total payroll

costs for the first quarter of 2020 as $187,256.97.

     G.    Company A’s PPP Loan Application in April 2020

     60.   As set forth above, JOHANSSON has controlled Company A

since approximately 2003.      Company A’s Manager (the long-time

onsite manager for Company A and the company’s former owner),

confirmed in an interview in June 2021 that JOHANSSON and

JOHANSSON’s wife remain in control of Company A.

     61.   Company A’s Manager also confirmed that JOHANSSON and

JOHANSSON’s wife directed him to apply for a PPP loan in around



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April 2020.        Company A’s Manager said that JOHANSSON instructed

him on how to answer almost every question on Company A’s PPP

loan application.
        62.   Company A applied for a PPP loan, through its

federally insured bank, on or about April 15, 2020.          Its

application included the following:

              a.     The average monthly payroll was listed as

$114,602, for 25 employees.       The amount requested was $286,505

(i.e., approximately 2.5 times the average monthly payroll).

              b.     The owner of Company A was listed as JOHANSSON’s

85-year-old mother, who was described as owning 100% of the

company.      The address listed for JOHANSSON’s mother corresponded

to an actual address of JOHANSSON’s mother, and the Social

Security Number listed corresponded to JOHANSSON’s mother as

well.

              c.     Question #3 of the loan application stated: “Is

the Applicant or any owner of the Applicant an owner of any

other business, or have common management with, any other

business?     If yes, list all such businesses and describe the

relationship on a separate sheet identified as addendum A.”           The

response was marked as “No,” and no addendum A was included.

              d.     Question #5 of the loan application form stated:

“Is the applicant or any individual owning 20% or more of the

equity of the Applicant subject to an indictment, criminal

information, arraignment, or other means by which formal

criminal charges are brought in any jurisdiction…?”          The

response was marked as “No” and the initials of Company A’s



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Manager were digitally signed next to the response.

           e.     Under all of the certifications, the form was

digitally signed by Company A’s Manager and dated on or about

April 24, 2020.
     63.   Company A’s Manager told me in June 2021 that he had

no idea who owned Company A, but that he listed Johansson’s

mother because JOHANSSON instructed him to do so.          Likewise,

Company A’s Manager said that JOHANSSON instructed him regarding

how to answer the questions about whether any of the company’s

owners had been indicted, and whether Company A had any common

management with other entities.

     64.   When law enforcement attempted to interview

JOHANSSON’s mother in June 2021, she said that she did not

remember if she owned a company called Company A because her

late husband owned several companies.        (Her husband died in

2004.)   She had no recollection of applying for a government

loan in Company A’s name, and she said that she was not familiar

with the name of Company A’s Manager (despite the fact that

Company A’s Manager has been Company A’s most senior employee

for decades).   Similarly, when Company A’s Manager was

interviewed in June 2021, he said that he had never heard of

JOHANSSON’s mother until JOHANSSON directed him to list her as

the owner on the PPP application.

     65.   Based on Company A’s representations, Company A’s bank

issued a PPP loan to Company A in the amount of $286,500 on or

about May 6, 2020.




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     H.      Western Distribution, LLC’s Expenditure of Its First
             PPP Loan
     66.     During an interview in around April 2021, Co-

conspirator #2 (JOHANSSON’s office administrator) told me the

following:

             a.     Once the COVID pandemic hit in March 2020, almost

all of Western Distribution, LLC’s business stopped and most of

the company’s employees were put on unemployment for

approximately five months.

             b.     The company did not rehire most of those

employees until approximately August or September 2020.           Nor did

the company pay most of the employees it had laid off during

that period.       An exception to this was that JOHANSSON put his

two sons on payroll after receiving the PPP loan; these were the

only “employees” on Western Distribution, LLC’s Paychex payroll

from approximately April to August 2020.

     67.     As part of this investigation, I obtained and analyzed

bank records from Bank of America for Western Distribution, LLC.

The analysis of the Bank of America account ending in -6403
showed that approximately $435,000 of PPP loan funds were

received between on or about May 7, 2020 and June 11, 2020.           The

analysis further showed that by on or about June 15, 2020, all

proceeds from the PPP funding had been spent.         Specifically:

             a.     On or about May 6, 2020 (i.e., just before the

PPP funds were disbursed), Account -6403 had an ending balance

of $614.08.       On or about May 7, 2020, this account received the

initial PPP deposit of $85,000.       On or about May 12, 2020, the




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account had an ending balance of $284.66.        During this period,

the entire $85,000 was either paid directly towards business

expenses or payroll, or transferred to other accounts where it

was subsequently spent.

           b.   On or about May 13, 2020, Account -6403 had an

ending balance of $65.49.      On or about May 14, 2020, this

account received a PPP deposit of $75,000.        On or about May 15,

2020, the account had an ending balance of $14,344.65.           On or

about May 15, 2020, $38,909.58 was either paid directly towards
business expenses or payroll, or transferred to other accounts

where it was subsequently spent.

           c.   Similarly, Account -6403 received the following

PPP payments:

             i. $50,000 on or about May 19, 2020;

           ii. $25,000 on or about May 22, 2020;

          iii. $20,000 on or about May 26, 2020;

           iv. $22,000 on or about May 28, 2020;

             v. $25,000 on or about May 29, 2020;

           vi. $39,000 on or about June 3, 2020;

          vii. $25,000 on or about June 4, 2020;

         viii. $40,000 on or about June 5, 2020; and

           ix. $29,000 on or about June 11, 2020.

           d.   The PPP payments that Western Distribution, LLC

received between on or about May 7, 2020 and June 11, 2020

totaled approximately $435,000.       As of on or about June 15,

2020, the ending balance in Account -6403 was $2,422.13.           All

$435,000 was either paid directly towards business expenses or



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payroll, or transferred to other accounts where it was

subsequently spent.

           e.   In terms of how much of the PPP funds Western

Distribution, LLC actually spent on payroll, according to

Paychex and tax documents, the only two employees that WESTERN

paid in the second quarter of 2020 (i.e., April through June

2020, when the company spent the PPP funds) were JOHANSSON’s two

sons: Co-conspirator #1 (the purported owner of Western

Distribution, LLC) and his brother.       For example, a document
entitled, “Quarterly Contribution Return and Report of Wages,”

covering Western Distribution, LLC’s second quarter of 2020,

lists JOHANSSON’s two sons as the company’s only paid employees

for that quarter.

           f.   Although the remainder of Western Distribution,

LLC’s employees were no longer paid via Paychex in the second

quarter of 2020, an analysis of the company’s bank records shows

that the company did continue paying a handful of employees via

company checks (i.e., off of Paychex’s books).         For the period

from on or about May 7, 2020 to June 11, 2020 (i.e., when

Western Distribution, LLC spent its PPP loan proceeds), these

company checks to employees totaled approximately $91,731.
     68.   An Employee Earnings Record for Western Distribution,

LLC, dated on or about September 18, 2020, shows Co-conspirator

#1 as having a hire date of on or about May 16, 2020, i.e.,

approximately eight days after the PPP loan was funded.           As

stated above, none of the documentation submitted by Western

Distribution, LLC to the Bank as part of the PPP loan



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application showed any payroll expenses for Co-conspirator #1.

It was only after the loan was processed in his name that Co-

conspirator #1 was added to the payroll for Western

Distribution, LLC.    Based on my training and experience, and my

knowledge of this investigation, this indicates that JOHANSSON

was trying to create the appearance that his son was working at

the business in conjunction with the funding of the loan which

was dependent on his son’s alleged representations as the

purported owner.
     I.     The Transfer of Company A’s Employees to Western
            Distribution, LLC’s Payroll Account

     69.    To be eligible for forgiveness of a PPP loan, a

borrower was required to spend at least sixty percent of its PPP

loan on payroll expenses within 24 weeks after the PPP loan was

issued.    Western Distribution, LLC’s 24-week deadline was on or

about October 19, 2020.     In September 2020, having laid off many

of its employees from approximately April 2020 to August 2020,

Western Distribution, LLC would have been unable to meet the

sixty-percent threshold, and thus would have been ineligible for

forgiveness of the entire loan, meaning the company, i.e.,

JOHANSSON, would have had to pay back a portion of the PPP funds

to the Bank.   Accordingly, in or about September 2020, JOHANSSON

began implementing a scheme to transfer many of the employees of

Company A onto the payroll of Western Distribution, LLC, so that

Company A’s payroll expenses for those employees could be

counted as Western Distribution, LLC’s payroll expenses, so that

Western Distribution, LLC could deceive the Bank into believing




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that Western Distribution, LLC had met the sixty-percent

threshold.    My bases for the foregoing conclusions include the

following:

             a.    On or about September 22, 2020, Western

Distribution, LLC directed that 21 of Company A’s employees (the

“21 Company A Employees”) in Company A’s Paychex account be

added to Western Distribution, LLC’s Paychex account (effective

on or about September 16, 2020). 8       From that date until at least

December 2020, the 21 Company A Employees were issued paychecks

by Western Distribution, LLC.

             b.    In an interview in June 2021, Company A’s Manager

said the following:

                   i.   At no point from September 2020 through

December 2020 did any of the 21 Company A Employees work for

Western Distribution, LLC.

                  ii.   JOHANSSON devised the scheme to put the 21

Company A Employees on the payroll of Western Distribution, LLC

by means of transferring them to Western Distribution, LLC’s

account at Paychex.

             c.    Email records corroborate the statement of

Company A’s Manager that JOHANNSON directed Company A to

transfer its employees to Western Distribution, LLC’s Paychex

account.   For example, on or about September 10, 2020, JOHANSSON

emailed the wife of Company A’s Manager (who was Company A’s

office manager), asking to discuss the requirements of the loan

     8 The 21 Company A Employees were D.A., D.A., G.B., J.C.B.,
J.C., M.C., N.E., J.F., R.G., G.H., T.H., J.H., D.M., J.M.,
R.M., C.M., E.M., D.O., E.P., B.P., and J.W.


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forgiveness application.     Beginning on or about September 21,

2021, JOHANSSON and the wife of Company A’s Manager exchanged

emails regarding JOHANSSON’s proposal to create a “sub-account”

within Western Distribution, LLC’s Paychex account for Company

A’s employees.    JOHANSSON sent to the wife of Company A’s

Manager the contact information for the Paychex representative

with whom JOHANSSON had spoken about setting up Company A’s

“sub-account.”    And when there were delays regarding the

paystubs for the 21 Company A Employees, the wife of Company A’s
Manager emailed JOHANSSON to complain on or about October 6,

2020, and JOHANSSON responded a few minutes later saying that he

had just mailed them to her.      On some of these emails, JOHANSSON

used his personal email account rather than his account at

Western Distribution, LLC.

           d.    In an interview, Company A’s Manager also said

that JOHANSSON forced Company A to cover the payroll expenses

for the 21 Company A Employees during the duration of the

scheme.   Company A’s Manager said that Company A had to wire the

payroll expenses for the 21 Company A Employees to Western

Distribution, LLC even after those employees were shifted to

Western Distribution, LLC’s Paychex account.         In other words,

even though JOHANSSON would later represent to the Bank that the

PPP funds that Western Distribution, LLC had received had been

spent (in part) on the 21 Company A Employees, that was false:

Company A was having to pay the payroll expenses of those

employees out of Company A’s own accounts.        According to Company

A’s Manager, JOHANSSON did not use Western Distribution, LLC’s



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own funds to pay the 21 Company A Employees.

              e.   Bank records corroborate the statement of Company

A’s Manager that JOHANSSON made Company A reimburse Western

Distribution, LLC for the payroll expenses of the 21 Company A

Employees.     Wire transfer records show that beginning in late

September 2020 and continuing through December 2020, Company A

sent approximately 26 wire transfers to Western Distribution,

LLC totaling approximately $339,900, in amounts tied to the

payroll expenses for the 21 Company A Employees who had been
moved to Western Distribution, LLC’s payroll.

              f.   Email records also show that JOHANSSON apparently

did not see any need for the scheme to continue into 2021.           For

example, on or about December 28, 2020, JOHANSSON wrote to the

wife of Company A’s Manager, “[M]ake this the last week ... go

back to your own next week.”      (Ellipsis in original.)      The next

day, the wife of Company A’s Manager wrote to Paychex, “We will

go ahead and run the weekly payroll information we have you

yesterday under the Western trucker account.... We will go back

to everyone under the [Company A] account next week.”

        J.    Western Distribution, LLC’s Fraudulent PPP Loan
              Forgiveness Application

        70.   Western Distribution, LLC submitted a PPP loan

forgiveness application to the Bank on or about January 19,

2021.    To be eligible for forgiveness of the PPP loan, Western

Distribution, LLC was required to submit documentation of how it

spent the PPP loan proceeds, including documents regarding

payroll, rent, etc.




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     71.   According to Co-conspirator #2, she filled out the PPP

loan forgiveness application at JOHANSSON’s direction.
     72.   The PPP loan forgiveness application form contained a

number of certifications regarding the borrower’s compliance

with PPP regulations.     For example:

           a.    “The dollar amount for which forgiveness is

requested was used to pay costs that are eligible for

forgiveness”;

           b.    “I understand that if the funds were knowingly

used for unauthorized purposes, the federal government may

pursue recovery of loan amounts and/or civil or criminal fraud

charges”; and

           c.    “The information provided in this application and

the information provided in all supporting documents and forms

is true and correct in all material respects.”

     73.   Next to each of these certifications, the initials

“CJ” were handwritten.     The certification was signed in the name

of Co-conspirator #1, who described himself as the LLC Member
and dated the form “1/19/21.”      The handwriting of the signature,

as well as the handwritten initials “CJ” on the same page next

to the certifications, look nothing like the signature and

handwritten initials on Western Distribution, LLC’s PPP loan

application.    While I am by no means a handwriting expert, based

on my training and experience, and my knowledge of this

investigation (including the fact that JOHANSSON learned of the

investigation in late 2020), I believe that JOHANSSON had Co-

conspirator #1 sign the loan forgiveness application, whereas I



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believe that in April 2020 JOHANSSON likely signed the PPP loan

application forms using Co-conspirator #1’s name. 9
     74.     The payroll records from Paychex that Western

Distribution, LLC submitted to the Bank as part of the loan

forgiveness application listed the employees not only from

Western’s own Paychex accounts (-6403 and -6410), but also a

separate account (-0968) including the 21 Company A Employees as

well as eight employees of a Texas company associated with

JOHANSSON.    Specifically, Western Distribution, LLC provided the

Bank a spreadsheet entitled “PPP Forgiveness Data,” dated on or

about December 11, 2020, purporting to show Western

Distribution, LLC’s payroll expenses from on or about May 5,

2020 to October 19, 2020.      The spreadsheet shows the following:

             a.   Twenty-two employees from Western’s two Paychex

accounts had a combined pay of $235,166.51.

             b.   Twenty-nine employees from the -0968 account had

a combined pay of $121,425.01.

             c.   The total payroll was $356,591.52.

             d.   Co-conspirator #1 was the highest paid employee

on the spreadsheet, with pay more than double the next highest

employee of Western Distribution, LLC or Company A.

     75.     When the Bank asked Western Distribution, LLC for

details regarding its 2020 payroll on or about February 19,

2021, Co-conspirator #2 responded three days later that “We have


     9 The government is conducting a handwriting analysis of the
various signatures to determine if JOHANSSON forged his son’s
signatures on the PPP loan application; the results are not yet
available.


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3 different accounts with Paychex – different area / departments

etc.”    Western Distribution, LLC did not disclose to the Bank

that the 21 Company A Employees did not work at Western

Distribution, LLC.     Nor did Western Distribution, LLC disclose

to the Bank that Company A was not a department of Western

Distribution, LLC but rather a separate company with a separate

location and a separate business.
        76.   As of on or about June 29, 2021, the Bank was still

processing the loan forgiveness application.         On or about that

date, I was told by the Bank that its review and approval of the

forgiveness application were imminent.

        K.    Western Distribution, LLC’s Fraudulent Second PPP Loan
              Application in March 2021

        77.   On or about March 24, 2021, Western Distribution, LLC

applied for a second PPP loan (the “Second PPP Application”),

also through the Bank.     The Second PPP Application included the

following:

              a.   The amount requested was $231,527 (i.e., 2.5

times the purported Average Monthly Payroll of $92,611).

              b.   The company again claimed that it was an LLC,

rather than a corporation.

              c.   The owner was listed as Co-conspirator #1, who

was described as owning 100% of the company and listed a social

security number matching Co-conspirator #1.

              d.   Question #3 stated: “Is the Applicant or any

owner of the Applicant an owner of any other business, or have

common management (including a management agreement) with any




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other business?    If yes, list all such businesses (including

their TINs if available) and describe the relationship on a

separate sheet identified as addendum A.”        The response again

was marked as “No,” and no addendum A was included.

             e.   Question #4 stated: “Is the applicant or any

individual owning 20% or more of the equity of the Applicant

presently incarcerated or, for any felony, presently subject to

an indictment, criminal information, arraignment, or other means

by which formal criminal charges are brought in any
jurisdiction?”    The response again was marked as “No” and the

initials “CJ” were handwritten next to the response.

             f.   The application listed a series of certifications

to be made by the borrower, similar to the ones discussed above

for Western Distribution, LLC’s first PPP loan application.           For

example, “I certify that the information provided in this

application and the information provided in all supporting

documents and forms is true and correct in all material

respects.”    The initials “CJ” were written next to each

certification.

             g.   The application was signed by Co-conspirator #1,

whose title was listed as “Owner,” and dated on or about March

24, 2021.

             h.   Documents submitted by Western Distribution, LLC

as part of the Second PPP Application reflected the same scheme

on which the company based its loan forgiveness application two

months earlier:    Western Distribution, LLC artificially inflated

its payroll costs by including Company A’s employees who never



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worked for Western Distribution, LLC.        The Second PPP

Application lumped together Paychex account -0968 (containing

the 21 Company A Employees), which had $139,934 in payroll

expenses in September and October 2020, with Western’s two other

Paychex accounts.    The payroll expenses for account -0968 were

higher than the payroll expenses for Western’s other Paychex

accounts (due in part to the fact that JOHANSSON removed almost

all of his employees – except his two sons – from the Paychex

payroll for much of 2020).
     78.   Based on the representations in the application, on or

about March 24, 2021, the Bank issued a second PPP loan to

Western Distribution, LLC in the amount of $231,527.

     79.   Company A was likely ineligible to receive a second

PPP loan because the pandemic did not cause the company the

requisite twenty-five percent decline in revenues for any

quarter in 2019 as compared to the same quarter in 2020.           Based

on my training and experience, and my knowledge of this

investigation, I believe that JOHANSSON represented to the Bank

in the Second PPP Application that the Company A employees were

actually employees of Western Distribution, LLC -- even though

they were not -- because (1) he need to be consistent with the

fraudulent PPP loan forgiveness application that he had caused

Western Distribution, LLC to submit only months earlier, and (2)

he knew that Company A was ineligible to obtain a second PPP

loan on its own.




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     L.    JOHANSSON’s Concurrent Fraud on the Department of
           Transportation
     80.   At the same time that JOHANSSON was claiming that

Western Distribution, LLC had dozens of employees for purposes

of the PPP fraud, he was causing the company to make filings

with the DOT that told a much different story.

     81.   As noted above, on or about April 25, 2019, JOHANSSON

filed a Form MCSA-1 to register Western Distribution, LLC with

the FMCSA, in which he wrote that Western Distribution, LLC

operated only one tanker truck.       Under penalty of perjury, in

response to the question, “Do you currently have, or have had

within the last 3 years of the date of filing this application,

relationships involving common stock, common ownership, common

management, common control or familial relationships with and

FMCSA-regulated entities?,” JOHANSSON responded “No.” 10         As a

result of the filing of the Form MCSA-1, JOHANSSON obtained a

DOT registration number for Western Distribution, LLC

(#3278747).

     82.   The following chart shows relevant data from the MCS-
150 forms (MCS-150 forms are periodic updates required by FMCSA)

submitted by Western Distribution, LLC (DOT #3278747) and

Western Distribution, Inc. (DOT #3533763):




     10Based on my discussions with colleagues at the DOT,
Wholesale was a FMCSA-regulated entity because, at a minimum, it
hauled jet fuel in interstate commerce.


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   Date           Named   DOT Number    Signatory (and Title)       Total
                 Entity                                           Number of
                                                                   Drivers
 5/17/2019        LLC      3278747        Carl Brad Johansson         1
                                                   (CEO)
 4/6/2020        Corp.     3278747           Carl Johansson           3
                                               (President)
 10/5/2020       Corp.     3278747           Carl Johansson           28
                                         (Operations Manager)
 11/2/2020       Corp.     3278747           Carl Johansson           1
                                         (Operations Manager)
12/23/2020        LLC      3533763      Carl Johansson (Admin.        1
                                                 Manager)
12/29/2020       Corp.     3278747          Carl Johansson            1
                                         (Operations Manager)


     83.    The signatory on each of these forms certified that,

“[u]nder penalties of perjury, I declare that the information

entered on this report is, to the best of my knowledge and

belief, true, correct, and complete.”         Based on my training and

experience, and my knowledge of this investigation, I believe

that JOHANSSON was the signatory for each of these forms (i.e.,

rather than Co-conspirator #1, who has a very similar name).

For example:

            a.     The person applying for a PIN number for the

FMCSA online portal for Western Distribution, Inc. was using the

Western Distribution email account that Co-conspirator #2

confirmed was JOHANSSON’s email account.         (Co-conspirator #2

also confirmed that Co-conspirator #1 did not have an email

account at Western Distribution.)

            b.     The email account listed on each of these MCS-150

Forms was JOHANSSON’s email account.

            c.     For more than a decade (first at National, and



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then at Wholesale, and then at Western Distribution, LLC),

JOHANSSON has commonly referred to himself as the Administrative

Manager and Operations Manager of his companies, which is the

same title used to describe “Carl Johansson” on the MCS-150

forms.
     84.    Based on my review of the Paychex payroll records for

Western Distribution, LLC, and my training and experience, I

believe that the information that JOHANSSON caused to be

submitted on the MCS-150 Forms was false and misleading.           During

the fall of 2020, for example, Western Distribution, LLC

employed at least 17 drivers (excluding the Company A employees

fraudulently transferred to Western Distribution, LLC’s Paychex

account).   Likewise, Western Distribution, LLC – a trucking

company that JOHANSSON repeatedly claimed to FMCSA had only one

driver – reported approximately $1 million in “Gross Trucking

Income” on its books for each quarter in 2020.

     85.    In contrast, there is no Paychex account for Western

Distribution, Inc., and I am not aware of any drivers employed
by Western Distribution, Inc.      It is possible, even likely, that

Western Distribution, Inc. has never carried out any actual

trucking activities.     For example, the FMCSA database for

roadside inspections (which tracks when trucks operated by a

registered trucking company are inspected at certain roadside

locations) does not contain a single inspection record for

trucks operating under DOT #3278747.       Based on my discussions

with colleagues at the DOT, I believe that it is unusual for a

trucking company not to have any roadside inspections.           Based on



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the Paychex data and the lack of any roadside inspections for

Western Distribution, Inc., I believe that JOHANSSON’s sworn

claim that Western Distribution, Inc. employed 28 drivers on

October 5, 2020 was false.
     86.   As the chart above shows, sometime on or before

December 23, 2020, JOHANSSON obtained a second DOT registration

number for Western Distribution, LLC (DOT #3533763).          Based on

my training and experience, and my discussions with colleagues

at the DOT, there does not appear to be any legitimate reason

why JOHANSSON would need two different DOT registration numbers

for Western Distribution.      This appears to be a continuation of

JOHANSSON’s decades-long practice of obtaining and maintaining

multiple DOT registration numbers to evade regulators and,

likely, secure insurance policies and clients that otherwise

would have been unavailable to JOHANSSON due to his trucking

companies’ history of safety violations.

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                            V.    CONCLUSION
     87.   Based on the foregoing, there is probable cause to

believe that JOHANSSON violated Title 18, United States Code,

Sections 1344(2) and 2(b) (bank fraud and causing an act to be

done) and Title 18, United States Code, Section 1349 (conspiracy

to commit bank fraud).




                                     /S/
                                      DANIEL DREYER, Special Agent
                                      Internal Revenue Service –
                                      Criminal Investigations

Subscribed to and sworn before
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me on July ___, 2021.



HONORABLE ALEXANDER F. MacKINNON
UNITED STATES MAGISTRATE JUDGE




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